
96 N.Y.2d 928 (2001)
THE PEOPLE OF THE STATE OF NEW YORK ex rel. JONES R. WOODS, Appellant,
v.
HANS G. WALKER, as Superintendent of Auburn Correctional Facility, Respondent.
Court of Appeals of the State of New York.
Submitted June 18, 2001.
Decided September 11, 2001.
On the Court's own motion, appeal dismissed, without costs, upon the ground that no substantial constitutional question is directly involved. Motion for leave to appeal denied. Motion for ancillary relief dismissed upon the ground that the Court of Appeals does not have jurisdiction to entertain it.
Judge WESLEY taking no part.
